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                      UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISCTRICT OF FLORIDA
                            ORLANDO DIVISION

                                          CASE NO.
RONALIA BAKER,

      Plaintiff,
v.

WAL-MART STORES EAST, L.P
a foreign corporation.

      Defendant.
_____________________________________/

     DEFENDANT, WAL-MART STORES EAST, L.P.’ S, NOTICE OF
                       REMOVAL

      Defendant, WAL-MART STORES EAST, L.P. (“Walmart”), by and

through the undersigned counsel, and pursuant to 28 U.S.C. §§ 1332, 1441

and 1446(b)(3), and Rule 81(c) of the Federal Rules of Civil Procedure, hereby

removes to this Court the action filed in the Ninth Judicial Circuit Court in

and for Orange County, Florida, Case No. 2021-CA-000338, with full

reservation of rights, exceptions and defenses, and in support thereof states:

                       I.      FACTUAL BACKGROUND

      1.    On April 13, 2021, Plaintiff filed her Second Amended Complaint

against Walmart in the Ninth Judicial Circuit Court in and for Orange

County, Florida. See Pl.’s Second Amend. Compl. attached as Ex. “A”.




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        2.      Plaintiff alleges a claim for negligence against Walmart as a

result of an injury about her body and extremities that she allegedly

sustained when she tripped and fell on February 19, 2017, while at the

Walmart store located at 5559 Clarcona Ocoee Road., Orlando, FL. See Ex.

“A” at ¶ ¶ 4, 5, 9.

        3. Specifically, Plaintiff alleges that she tripped and fell on an outdoor

sprinkler head located near the sidewalk. Id. at ¶ 5.

        4.      Plaintiff alleges that Walmart was negligent insofar as it failed to

maintain its property and premises in a reasonably safe condition. Id. at ¶ ¶

7, 8.

        5.      The Plaintiff alleges that she is a resident and citizen of Orange

County, Florida. Id. at ¶ 2.

        6.      On or about February 10, 2021, prior to serving the Second

Amended Complaint, Plaintiff submitted a demand letter (“Demand Letter”)

which indicated that Plaintiff suffered injuries to her right leg, right

knee, neck, lower back, and right shoulder. See redacted Demand Letter

attached as Ex. “B” 1.

        7.      According to the Demand Letter, Plaintiff underwent right knee

surgery, which was preceded by physical therapy to her right leg and lower

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 Walmart has not filed the entire complement of medical records which Plaintiff submitted with her
Demand Letter in order to protect the Plaintiff’s personal information. Should the Court wish to see these
documents, Walmart will provide same for an in camera inspection.
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back. Id.

      8.      As per her demand letter, as of February 10, 2021, Plaintiff’s past

medical bills totaled $82,827.00, which alone are alleged to exceed the

jurisdictional threshold of this Court. Id.

      9.      Notably, Plaintiff’s pain and suffering are allegedly permanent

and will require future medical care as well. See Ex. “A” at ¶ 17.

      10.     This matter is therefore removable based on diversity of

citizenship of the parties, and because the amount in controversy is in excess

of $75,000.00 exclusive of interest, attorney’s fees, and costs.

      11.     Walmart attaches hereto and makes a part of this notice a copy of

the process, pleadings, and other papers filed in the Ninth Judicial Circuit in

and for Orange County together with a docket sheet from the Clerk of the

Court. See attached as Composite Ex. “C”.

      12.     Walmart reserves the right to raise all defenses and objections in

this action after the action is removed to this Court.

                             II. REMOVAL IS TIMELY

      13.     In accordance with 28 U.S.C. § 1446(b)(1), Walmart files this

Notice of Removal within thirty (30) days of the date that it received a copy of

Plaintiff’s   Second     Amended       Complaint.        Plaintiff’s    Second   Amended

Complaint is the pleading setting forth the claim for relief upon which


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Plaintiff’s action is based. The thirty (30) day period commenced on April 13,

2010, when Plaintiff filed her Second Amended Complaint.

      14.   Prior to the service of Plaintiff’s Second Amended Complaint,

Plaintiff sent Walmart a written pre-suit demand outlining Plaintiff’s

claimed damages inclusive of actual medical expenses in connection with her

alleged February 19, 2017 incident.

      15.   Venue exists in the United States District Court for the Middle

District of Florida, Orlando Division, because the Ninth Judicial District in

and for Orange County, where Plaintiff filed her state court Second Amended

Complaint is located in Orange County Florida, which is located within the

United States District Court for the Middle District of Florida, Orlando

Division.

   III. THERE IS COMPLETE DIVERSITY WITHIN THE PARTIES

      16.   Under 28 U.S.C. § 1332(a)(1), “[t]he district court shall have

original jurisdiction of all civil actions where the matter in controversy

exceeds the sum or value of $75,000.00, exclusive of interest and costs, and is

between – citizens of different States.” This action satisfies the complete

diversity of citizenship requirement of 28 USC § 1332(a)(1).

      A.    Citizenship of RONALIA BAKER.

      17.   Plaintiff is a resident of Orange County, Florida. See Ex. “A” at ¶


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2. Although Plaintiff’s Second Amended Complaint does not state Plaintiff’s

citizenship, “[i]t is well established that a party’s residence is prima facie

evidence of a party’s domicile,” and “[f]or purposes of diversity jurisdiction, a

party’s domicile is equivalent to his citizenship.” Katz v. J.C. Penney Corp.,

2009 WL 1532129, *3 (S.D. Fla.) (Cohn, J) (internal citations omitted).

      18. Plaintiff’s Orange County, Florida’s residence is prima facie

evidence of her domicile which is equivalent to citizenship for purposes of

establishing diversity in this case. See Katz, 2009 WL 1532129 at *3.

      B.    Citizenship of WAL-MART STORES EAST, L.P.

      19.    At the time of the alleged incident, and currently, Wal-Mart

       Stores East, LP is a

limited partnership At the time of the alleged incident, and currently, Wal-

Mart Stores East, LP is a foreign limited partnership which is, and was at

the time the above captioned case was filed in State Court, a Delaware

Limited Partnership with its principal place of business in the State of

Arkansas. See Florida Department of State, Division of Corporations, Detail

by Entity Name attached as Composite Ex. “D.” WSE Management, LLC is

the general partner and WSE Investment, LLC is the limited partner of Wal-

Mart Stores East, LP. These are the only partners of Wal-Mart Stores East,

LP. WSE Management, LLC and WSE Investment, LLC were at the time of


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filing the Second Amended Complaint, and still are, Delaware limited

liability companies. The sole member of WSE Management, LLC and WSE

Investment, LLC is, and was at the time of filing the Second Amended

Complaint, Wal-Mart Stores East, LLC, an Arkansas Limited Liability

Company. The sole member of Wal-Mart Stores East, LLC is, and was at the

time of filing the Second Amended Complaint, Wal-Mart Stores, Inc. Wal-

Mart Stores Inc., is, and was at the time of filing the Second Amended

Complaint, an incorporated entity under the laws of the State of Delaware.

Wal-Mart Stores Inc., at the time the Second Amended Complaint was filed

and presently, incorporated in the State of Delaware.

        The principal place of business for all of the above mentioned entities

(Wal-Mart Stores East, LP; WSE Management, LLC; WSE Investment, LLC;

Wal-Mart Stores East, LLC; and Wal-Mart Stores, Inc.) is, and was at the

time of filing the Second Amended Complaint, Bentonville, Arkansas.

                            AMOUNT IN CONTROVERSY

      20.   The amount in controversy exceeds $75,000.00. Although

Plaintiff’s Second Amended Complaint does not specify an amount in

controversy other than the state court $30,000.00 jurisdictional minimum, it

is clear from Plaintiff’s Demand Letter and medical bills and records that her

claimed damages exceed the jurisdictional minimum in this Court of


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$75,000.00. See Katz v. J.C. Penney Corp., Inc., 2009 WL 1532129, *5 (S.D.

Fla. June 1, 2009) (concluding the defendant met its jurisdictional burden of

establishing the amount in controversy based on information received from

the plaintiffs in the pre-suit demand package); see also Mick v. De Vilbiss Air

Power Co., No. 6:10-CV-1390-ORL, 2010 WL 5140849, at *1 (M.D. Fla. Dec.

14, 2010) (discussing pre-suit demand letters are competent evidence of the

amount in controversy.).

      21.   Where, as here, a plaintiff makes “an unspecified demand for

damages in state court, a removing defendant must prove by a preponderance

of the evidence that the amount in controversy more likely than not exceeds

the . . . jurisdictional requirement.” Tapscott v. MS Dealer Service Corp., 77

F.3d 1353, 1357 (11th Cir. 1996), abrogated on other grounds by Cohen v.

Office Depot, Inc., 204 F.3d 1069 (11th Cir. 2000).

      22.   “In the Eleventh Circuit, a district court may consider the

complaint and any later received paper from the plaintiff as well as the notice

of removal and accompanying documents when deciding upon a motion to

remand.” Katz, 2009 WL 1532129, at *4 (S.D. Fla. June 1, 2009) (citing

Lowery v. Alabama Power Co., 483 F.3d 1184, 1213-1214 (11th Cir. 2007)).

“Additionally, a district court may consider evidence outside of the removal

petition if the facts therein existed at the time of removal.” Id (citing


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Williams v. Best Buy Co., 269 F.3d 1316, 1320 (11th Cir. 2001) and

Sierminski v. Transouth Financial Corp., 216 F.3d 945, 949 (11th Cir. 2000)).

“Therefore, pre-suit settlement offers and demands may be considered in

evaluating whether a case has been properly removed.” Id.

      23.      The relevant portions of Plaintiff’s Demand Letter conclusively

establish   that   the    amount      in    controversy      exceeds      the   $75,000.00

jurisdictional minimum. Specifically, Plaintiff has allegedly suffered various

injuries to her right leg, right knee, neck, lower back, and right shoulder,

which allegedly required her to undergo physical therapy and right knee

surgery. Upon information and belief, Plaintiff’s past medical bills totaled

$82,827.00 and alone are alleged to exceed the jurisdictional threshold of this

Court. In addition to Plaintiff’s alleged medical condition, Plaintiff’s Second

Amended Complaint alleges that Plaintiff lost the enjoyment of life, loss of

earnings and impairment of earning capacity and her injuries are either

permanent or continuing in nature and Plaintiff will suffer the losses in the

future. See Ex. “A.” at ¶ 9.

      24.     These representations sufficiently and conclusively establish by

a preponderance of the evidence that the amount in controversy exceeds the

requisite $75,000.00 jurisdictional minimum for this Court to retain

jurisdiction. Numerous district court decisions support this conclusion.


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      25.     For example, in Katz v. J.C. Penney Corp., this Court concluded

that the removing defendant properly established the amount in controversy

by addressing information received from Plaintiff’s pre-suit demand package.

Katz, 2009 WL 1532129 at 4. The Court specifically noted it was persuaded

that the pre-suit demand package reflected an honest assessment of damages

by plaintiffs because, like Plaintiff’s June 18, 2020 Demand Letter in this

case, it was based on medical records provided by the plaintiff. Id.

      26.     District courts have found that the amount in controversy is

satisfied by a showing that Plaintiff’s pre-suit demand letter demonstrates

Plaintiff’s past medical bills exceed $75,000.00. For example, in Stramiello v.

Petsmart, Inc., Case No. 8:10-cv-659-T-33TGW, 2010 U.S. Dist. Lexis 59119,

at *3 (M.D. Fla. 2010), the court determined the defendant established its

burden of proving the amount in controversy exceeded $75,000.00 where the

plaintiff’s medical bills alone totaled $108,351.92 and plaintiff alleged that

his injuries were permanent and she would “surely seek recovery of future

medical expenses and significant pain and suffering damages.” Id. The court

found the defendant established complete diversity and that the amount in

controversy exceeded the minimum jurisdictional requirement; therefore, the

court denied the plaintiff’s motion to remand. Id. at *5.

      27.     Additionally, in Wilson v. Target Corp., the plaintiff submitted


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a pre-suit

demand letter indicating she had incurred over $100,000.00 in past medical

expenses and would incur additional $1 million dollars in future medical

expenses as a result of his incident. Wilson v. Target Corp., 2010 WL

3632794, at *4 (S.D. Fla. 2010). Although the plaintiff’s complaint did not

specify the exact amount of damages she bought, but only plead that her

damages were in excess of $15,000.00, the court denied plaintiff’s motion to

remand finding plaintiff’s pre-suit demand letter and unspecified damages in

his complaint were sufficient to demonstrate by a preponderance of the

evidence that the amount in controversy exceeded $75,000.00. Id.

      28.     Here, Plaintiff’s Demand Letter alleges Plaintiff’s economic

damages alone to be in excess of $82,827.00 as it is based on the following:

             a. Plaintiff’s past medical bills in the approximate amount of

               $82,827.00;

             b. Future medical care. See Katz, 2009 WL 1532129 at 4;

             c. Significant and continuing pain and suffering;

             d. Loss of earnings and an impairment of earning capacity.

      29.     This evidence demonstrates the Plaintiff’s claimed damages in

the instant case far exceed $75,000.00. Accordingly, Walmart has shown by a

preponderance of the evidence that the amount in controversy exceeds the


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jurisdictional minimum, rendering removal proper.

                                V. CONCLUSION

            This action is removable pursuant to 28 U.S.C. §§ 1332, 1441

and 1446 because there exists complete diversity in this matter as the

Plaintiff and Walmart are citizens of different states, and the amount in

controversy exceeds $75,000.00 exclusive of interest, fees, and costs. Upon

filing of this Notice of Removal, Walmart will promptly give written notice to

Plaintiff, through her attorneys of record, and the Clerk of the Circuit Court

for the Ninth Judicial Circuit in and for Orange County, Florida.

            WHEREFORE, Defendant, WAL-MART STORES EAST, L.P.,

respectfully requests the Notice of Removal be accepted as good and sufficient

as required by law, and that the aforesaid action, Case No.2021-CA-000338,

on the docket of the Court for the Ninth Judicial Circuit in and for Orange

County, Florida, be removed from that Court to the United States District

Court for the Southern District of Florida, Orlando Division, and that this

Court assume full and complete jurisdiction thereof and issue all necessary

orders and grant all general equitable relief to which Walmart is entitled.

Dated: May 13, 2021

                                 Respectfully Submitted,

                                 /s/ J. David Atkins
                                 Jerry D. Hamilton

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                                  L.P.

                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 13, 2021, I electronically filed the

foregoing document with the Clerk of Court using the E-Filing Portal. I also

certify that the foregoing document is being served this day on all counsel of

record or pro se parties identified on the attached Service List by electronic

mail.

                                          /s/ Will H. Edwards
                                          Will H. Edwards, Esq.

                                   SERVICE LIST


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